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On Thu, Dec 21, 2023, 8:58 AM Bricker, Michael
<MBricker@coj.net> wrote:
   Good morning, Alison,

   As I mentioned previously, I'd love to have a
   conversation with you when you're ready. Until
   then, you have been formally dismissed as a
   volunteer of Animal Care and Protective Services.
   You are no longer authorized in any areas of the
   shelter that are not public. You are not allowed to
   take animals in and out of the kennels, nor walk
   them on shelter property. If you do visit, we ask you
   to please be kind to all staff and volunteers, and
   please do not wear your ACPS Volunteer shirt. On a
   separate but related note, we need to discuss your
   foster dog as well, today. Please let me know a good
   time would be best for that call.

   All the best,

   Michael Bricker
   Chief, Animal Care and Protective Services
   2020 Forest St. Jacksonville, FL 32204
   904.778.5652
   Jacksonville.gov/pets



                                                                  EXHIBIT 4
